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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF COLUMBIA

U.S.A. vs. CLARK Jr., Jeffrey Raphiel Docket No.: 1:18CR00338-001

 

The Court may enter a minute order for any of the following options:

Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order, Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

1. O Concurs with the recommendation of the Probation Office to “grant early termination.”
2. BY No action

3. O Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4, 0 Issuance of a summons and schedule a hearing

5S. O Hearing to modify, revoke, or terminate supervised release shall be held before a
magistrate judge for the preparation of a report and recommendation to the district judge. This
designation will remain for the duration of the case, and the designated magistrate judge will
respond to all subsequent requests from the probation office unless otherwise ordered by the

district judge.

6. ¥f Other The petition is denied without prejudice to be renewed after 3/1/22.

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